AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                               Northern District
                                                            __________  District of
                                                                                 of Georgia
                                                                                    __________

                                                                            )
  Earl Parris, Jr., individually, and on behalf of a Class of               )
  persons similarly situated,                                               )
                                                                            )
                                Plaintiff(s)                                )
                                                                            )
                                     v.                                             Civil Action No. 4:21-cv-00040-TWT
                                                                            )
 3M COMPANY, DAIKIN AMERICA, INC., E.I. DUPONT DE
 NEMOURS AND COMPANY, HUNTSMAN INTERNATIONAL,                               )
 LLC, PULCRA CHEMICALS, LLC, MOUNT VERNON MILLS,                            )
 INC., THE CHEMOURS COMPANY, and TOWN OF TRION,                             )
 GEORGIA.
                                                                            )
                               Defendant(s)                                 )

                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                 The Chemours Company
                 C/O CT Corporation System
                 289 S. Culver Street
                 Lawrenceville, GA 30046




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                               Gary A. Davis
                                               Davis Attorneys, P.C.
                                               21 Battery Park Ave., Ste 206
                                               Asheville, NC 28801


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT


Date:
                                                                                                 Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:21-cv-00040-TWT

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
